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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION

GARRY STEWART, M.D.                                                         PLAINTIFF

v.                          CASE NO. 4:17-CV-00338-BSM

ADVANCED MEDICAL REVIEWS, INC.; J.D.
HAINES, M.D.; GARY GRAMM, D.O.; DAVID
CHEN, M.D.; ANNA BELMAN, M.D.; and
JENNIFER CROWLEY, R.N.                                                  DEFENDANTS


             BRIEF IN SUPPORT OF DEFENDANTS’ MOTION IN LIMINE
                       RE “PUBLIC POLICY IMPLICATIONS”

                                 I.         INTRODUCTION

        Plaintiff has indicated that he views this lawsuit as having “far-reaching

public policy implications.” (Plaintiff’s Memorandum Response to Defendants’

Motion in Limine re Untimely Disclosed Witnesses, Dkt. No. 120, at pp. 4, 6). Any

reference to public policy importance or implications should be excluded because it

is irrelevant to plaintiff’s claims, and even if had some probative value, its

admission will confuse the jury and obfuscate the issues the jury is charged with

deciding. Fed. R. Evid. 401, 402, 403.

                                      II.    ARGUMENT

        “Public Policy” references will confuse the jury. The fact finder in this case is

charged with first deciding whether defendants are entitled to immunity under the

Health Care Quality Improvement Act (“HCQIA”) and second, if necessary, whether

defendants are liable in this matter. The jury is not charged with determining

whether an outcome in this case would have public policy implications. There is no



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aspect of either of the questions for the jury, immunity or liability that would

necessitate consideration of public policy. This case is about the actions of the

defendant medical reviewers and medical review company, not about palliative care

doctors in general, as plaintiff suggests.

        Any mention that the verdict in this case will have public policy implications

would serve no evidentiary purpose. The only purpose that such an argument will

serve is to ask the jurors to think about what ramifications this lawsuit will have on

them or the citizens of Arkansas at the ends of their or their family members’ lives.

In other words, plaintiff’s suggestion that this case will have public policy

ramifications is nothing more than an impermissible Golden Rule argument. Golden

Rule arguments are “universally condemned because [they] encourage[] the jury to

‘depart from neutrality and to decide the case on the basis of personal interest and

bias rather than on the evidence.’” Lovett v. Union Pac. R. Co., 201 F.3d 1074, 1083

(8th Cir. 2000) (quoting Dole v. USA Waste Servs. Inc., 100 F.3d 1384, 1388 (8th Cir.

1996)).

        What the public policy should be on how much discretion a physician should

have in administering pain and anti-anxiety medications at the end of a patient’s

life is determined by the legislature, not a jury. It is well settled that the

determination of public policy lies almost exclusively with the legislature, and the

courts will not interfere with that determination in the absence of palpable errors.

McDonald v. Pettus, 337 Ark. 265, 988 S.W.2d 9 (1999). As such, references to

public policy and the message a jury verdict might send are irrelevant and,



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therefore, inadmissible. Fed. R. Evid. 402. But even if public policy implications

had some relevancy, Fed. R. Evid. 403 requires that the Court balance the probative

value of relevant evidence against the danger of unfair prejudice, confusion of the

issues, or misleading the jury. If the jury hears from plaintiff that this matter could

have overarching repercussions for palliative care, the jury will be distracted from

the actual issues it is to decide, and defendants will be unduly prejudiced.

        Plaintiff’s statements that this case is about broad, public policy issues

reinforces fear over facts, and, at trial, such a statement could threaten to resolve

this complex litigation on matters other than the evidence presented by the parties

and the applicable law. Because the Rule 403 balancing analysis dictates that the

probative value of this is substantially outweighed by any of the dangers set forth in

the Rule, this Court should exclude the evidence from trial.

                                III.   CONCLUSION

        For all these foregoing reasons, defendants pray that their motion in limine

be granted, that plaintiff be prohibited from any public policy arguments, and for all

other just and proper relief.




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